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In the Gnited States Court of Federal Claing

OFFICE OF SPECIAL MASTERS
Filed: January 17, 2020

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AND HUMAN SERVICES,

Respondent.

NATALIA A. AUGUSTINE, *
*
*

Petitioner, * No. 18-1558V

*

Vv. * Special Master Dorsey
*

SECRETARY OF HEALTH *
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ORDER CONCLUDING PROCEEDINGS!

On January 17, 2020, petitioner filed a Stipulation of Dismissal in the above-captioned
case, attached hereto as Appendix A.

Accordingly, pursuant to Vaccine Rule 21 (a), the above-captioned case is hereby
dismissed without prejudice. The Clerk of the Court is hereby instructed that a judgment shall
not enter in the instant case pursuant to Vaccine Rule 21(a).

IT IS SO ORDERED.

 

' Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will
be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b),
petitioner has 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such
material from public access.
Dated:

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Nora Beth Dorsey
Special Master
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IN THE UNITED STATES COURT OF FEDERAL CLAIMS
OFFICE OF SPECIAL MASTERS

 

NATALIA A. AUGUSTINE,
Petitioner,
V. No. 18-1558V
Special Master Dorsey
SECRETARY OF HEALTH AND ECF
HUMAN SERVICES,
Respondent.

 

 

JOINT STIPULATION OF DISMISSAL
It is hereby stipulated by and between the parties, the following matters:
1. On October 9, 2018, petitioner filed a Petition for Vaccine Compensation.

2. The parties hereby stipulate pursuant to Vaccine Rule 21(a) that this action shall be

vias Respondgffks Counsel:

dismissed.

    
   

Petitioner

 

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